         Case 8:19-bk-13584-TA Doc 22 Filed 09/18/19 Entered 09/18/19 21:47:46                                               Desc
                             Imaged Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-13584-TA
Coastal International, Inc.                                                                                Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: jroqueC                      Page 1 of 1                          Date Rcvd: Sep 16, 2019
                                      Form ID: ccdn                      Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 18, 2019.
db             +Coastal International, Inc.,   2832 B Walnut Avenue,   Tustin, CA 92780-7002

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 18, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 15, 2019 at the address(es) listed below:
              Jeffrey I Golden   on behalf of Debtor   Coastal International, Inc. jgolden@wgllp.com,
               kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
              United States Trustee (SA)   ustpregion16.sa.ecf@usdoj.gov
                                                                                            TOTAL: 2
         Case 8:19-bk-13584-TA Doc 22 Filed 09/18/19 Entered 09/18/19 21:47:46                                          Desc
                             Imaged Certificate of Notice Page 2 of 2
                                         United States Bankruptcy Court
                                          Central District of California
In re:                                                            CHAPTER NO.:    11
Coastal International, Inc.
dba Coastal International Convention Services                     CASE NO.:   8:19−bk−13584−TA

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:

A. You must cure the following within 14 days from filing of your petition:

     Corporate Resolution Authorizing Filing of Petition required for Chapter 7 and 11. [Court Manual, section 2.1]
     Corporate Ownership Statement as specified by LBR 1007−4
     Statement of Related Cases (LBR Form 1015−2) [Information required by LBR 1015−2]
     Disclosure of Compensation of Attorney for Debtor (Official Form 2030). [11 U.S.C. § 329; FRBP 2016(b)]
     Verification of Master Mailing List of Creditors [LBR 1007−1(a)] (LBR Form F1007−1)
B. If you are a Small Business Debtor in a Chapter 11 case, within 7 days after the date of the filing of the petition, you must file the
most recent:
1.   Balance sheet
2.   Statement of operations
3.   Cash−flow statement
4.   Federal tax return
OR
5. Statement made under penalty of perjury that no balance sheet, statement of operations, or cash−flow statement has been
prepared and no Federal tax return has been filed. [11 U.S.C.§1116]

The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                 Chapter 11     Original and 2 Copies. 1 copy marked as "Judge's Copy."

Please return the original or copy of this form with all required items to the following location:

                 411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: September 15, 2019                                                     For the Court
                                                                              Kathleen J. Campbell
                                                                              Clerk of Court
(Form ccdn − Rev 01/2018)                                                                                                         1/
